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                                       UNITED STATES DISTRICT COURT
                                                   for the
                                          DISTRICT OF NEW JERSEY


Securities and Exchange Commission

                            Plaintiff(s),                      REQUEST BY LOCAL COUNSEL
                                                               FOR PRO HAC VICE ATTORNEY TO
           v.                                                  RECEIVE ELECTRONIC
                                                               NOTIFICATION

Gordon J. Coburn, et al.                                       Civil Action No.   2:19-cv-05820-KM-MAH
                            Defendant(s)




           Request is hereby made by local counsel for pro hac vice counsel to receive electronic notifications in the
within matter, and it is represented that:

                1.   An order of the Court granting a motion to appear pro hac vice in the within matter has
                     been entered; and

                2.   If admission was granted after March 22, 2005, the Admission Fee, in the amount of $150,
                     pursuant to L.Civ.R. 101.1(c)(3), has been paid to the Clerk of the Court.


                                                                                   /s/ Theodore V. Wells, Jr.
                                                                                   Signature of Local Counsel


PRO HAC VICE ATTORNEY INFORMATION:

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